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DISTRICT OF ARIZONA 4 §`-’ F-H§§ll

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No. CV-16-08277-PCT-DLR

Real Party In Interest:

MICHAEL J BROSNAHAN

Consumer Claimant 0 _

Plalntlff, Enforcement action Fair Debt Collection
Practices Act 15 U.S.C. § 1692
V.

Federal Question 28 U.S.C. § 1331

CALIBER H()ME LOANS, INC., et al. Amended Complaint

AND/OR Real Party(s) In Interest:
(Oral argument requested)

Defendants.

(Honorable Douglas L. Rayes)

 

 

Plaintiff Michael J Brosnahan, pro per, is a natural person and is a "Consumer" as
defined by 15 USC 1692a(3)(4), private right of action 15 U.S.C. § 16921<, not Waiving any
rights, Without prejudice, hereby respectfully submits this Enforcement of F air Debt Collection
Practices Act 15 and U.S.C. § 1692 and Federal Question 28 U.S.C. § 1331. Consumer is in the
United States of America and any action against him, or thing attached to him must be addressed
in a Court of Competent Jurisdiction, 28 U.S.C. § 1251 Original jurisdiction Any action against
or concerning the Consumer is an action against the United States of America by Defendants that
is a "Debt Collector" as defined pursuant to FDCPA, 15 U.S.C. § 1692a(6). Defendants alleged
foreclosure sale is imminent and they continue to threaten, harass, abuse and trespass on
Consumers' inalienable rights and the Consumers' principle dwelling unique real property used
primarily for personal, family, or household purposes is in question; and for declaratory and
injunctive relief and the stay of the sale. 15 U.S.C. § 1692k(3)(d).

1 hereby submit the following: Verified Amended Complaint complying With court Order

dated January 04,2017

 

 

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Parties

Plaintit`f Michael J. Brosnahan, appearing pro se, pro per, is a natural person and is a
"Consumer" as defined bylS U.S.C. § l692a(3)(4),

Defendants Caliber Home Loans, Inc., LSF9 Master Participation Trust, and Summit
Services and Realty LLC (collectively “Defendants”) "Debt Collector" as defined in accordance
With FDCPA, 15 U.S.C. § l692a(6)

At all relevant times, Defendants Caliber Home Loans Inc., LSF9 Master Participation
Trust, and Summit Services and Realty LLC (collectively “Def`endants”) and its agents are in fact
"Debt Collector" as defined under the FDCPA. l5 U.S.C. § 1692a(6). Defendants have acted and
continue to act recklessly or knowingly and commit the acts, cause or direct others to commit
the acts, or permit others to commit the acts alleged in this matter. Any allegations about the
acts of the Corporations means those acts Were committed through their officers, directors,
employees, agents, and/or representatives While those individuals Were acting Within the actual
or implied scope of their authority.

Debt Collector Defendants and its agents, have knowingly and repeatedly violated the
federal law prohibitions on Unfair, Deceptive, or Abusive Acts or Practices (UDAAP) for
financial services providers servicing and collecting on loans that Were wholly or partially void or

uncollectible under Federal and State laW.

Real Property Description
21 Hummingbird Circle, Sedona, AZ 86336-7012. Parcel Number: Lot 33 of` Chapel Bell

Estate Unit 4, According to Case 2 Maps, Page 324, Records Of Coconino County, Arizona, APN

NO 401-54046
INTRODUCTION

The date for the ‘unlawful’ non-judicial foreclosure proceeding of Consumer Plaintiff" s
unique real property started on or about August 24, 2016, Where a Notice of Trustee Sale was
recorded at the Coconino County Recorder Of`fice by Debt Collector CALIBER HOME LOANS
lnc. and its agents, SUMMIT SERVICES AND REALTY LLC, With said sale set to occur on

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November 23, 2016 at 11:30 AM and subsequently canceled November 23, 2016. Defendants
willfully, maliciously and with knowledge of for thought began another foreclosure proceeding
scheduled for February27,2017. The alleged foreclosure sale by debt collector is imminent

Debt Collector CALIBER HOME LOANS Inc. and its agents, SUMl\/IIT SERVICES
AND REALTY LLC, acting administratively as Judge and Jury ignored their fiduciary
responsibilities as Trustees to verify all documents and accounts; Debt Collector CALIBER
HOME LOANS Inc. and its agents LSF9 Master Participation Trust ,SUMMIT SERVICES AND
REALTY LLC initiated unlawful commencement of a non-judicial foreclosure proceeding against
Consumer Plaintiff without the proper documentation Therefore Consumer Plaintiff is
apprehensive regarding the effect of any delay in the issuance of the Order concerning this
Application. “Debt collector”, as a debt collector, forwarded, or caused to have forwarded, a
communication regarding an attempt to collect an alleged “debt” as defined in 15 USC 1692a(5).
Consumer demands Defendant/debt collector immediately CEASE and DECIST pursuant to 15
U.S.C. § 16920(0). Pursuant to 15 USC l6920(c)(l)

Consumer, Mr. Brosnahan, believes l) the alleged debt has been knowingly passed,
without ever being validated, from one company to the next in an attempt to conceal material
facts and evidence 2) that the debt has been paid in full; 3) and, that none of the above-mentioned
entities (i.e., Debt Collectors) are the Creditor or Holder in Due Course of the alleged note and
debt in question. CALIBER HOME LOANS must by law identify and disclose “The Real Party
of Interest on the Note” as the alleged “CREDITOR” and "HOLDER IN DUE COURSE".

Defendants and its agents filed false and/or forged documents into a public office on or
about August 24,2016 and are in violation of A.R.S. § 39-161 on the false presumption that they
have standing to foreclose.

PRELIMINARY STATEMENT

This is an action brought for damages for violations of the Federal consumer financial
laws,” 12 U.S.C. § 5491, including the Fair Debt Collection Practices Act (“FDCPA”) and the
Consumer Financial Protection Act of 2010 (“CFPA”). 12 U.S.C. § 5481(12)(H), (14). The

Consumer has authority to bring private right of action that extends to persons engaged in the

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collection of debts related to any consumer financial product or service. 12 U.S.C. § 5481(5),
(15)(A)(x). Consumer has independent litigating authority to commence civil actions on his own
to address violations of “Federal consumer financial laws,” including the FDCPA and the CFPA.
12 U.S.C. § 5564(a)-(b); 15 U.S.C. § 16921(b)(6) and Real Estate Settlement Practices Act
(RESPA) 12 U.S.C. §2605 et seq.; for damages for violations of the Truth in Lending Act
(TILA)15 U.S.C. §1641 et seq.; for damages attached to violations of the Fair Debt Collection
Practices Act (FDCPA) 15 U.S.C. §1692 et seq.; and for declaratory and injunctive relief.
JUDICIAL NOTICE

Time is of the essence, due to Defendants and its agents negligent reckless behavior.
Defendants executed a document entitled “assignmen ” which contained no warranties of title or
interest Alleged foreclosure sale is imminent and, as such, Defendant/debt collectors continue to
threaten, harass and trespass on Consumer’s inalienable rights.

By Law and precedent and in accordance with the Supreme Court of the United States pro
se pleadings MAY NOT be held to the same standard as a lawyer’s and/or attorney’s.
Additionally, pro se motions, pleadings and all papers may ONLY be judged by their function
and never their form. Litigants are to be held to less stringent pleading Standards. Consumer
Claimant Plaintiff hereby invokes in this case, inter alia, 28 U.S. Code § 1251 “Federal consumer
financial laws,” 12 U.S.C. § 5491(a), including the entire Fair Debt Collection Practices Act
(“FDCPA”) and the Consumer Financial Protection Act of 2010 (“CFPA”). 12 U.S.C. §
5481(12)(H), (14),H.R.946 - Plain Writing Act of 2010, 28 U.S.C. § 1331,18 U.S. Code § 1345 -
FTC 16 C.F.R. § 433, (“Holder” Rule) - lnjunctions against fraud, FTC 16 C.F.R. § 433,
(“Holder” Rule) especially FDCA,TILA,RESPA, REGULATION Z, Gramm- Leach-Bliley Act 15
U.S.C. 6823 Titles15, 33, 44 and 47, inter alia, the Uniform Commercial Code, inter alia, the
federal Constitution, all Civil and/or God granted Rights, inter alia, all maxims of law, inter alia,
rules of equity, inter alia, all Treaties, and all other national and/or international agreements
and/or accords, and, inter alia, all other applicable laws, codes statutes, and the like.

Consumer Plaintiff Michael J. Brosnahan, appearing pro se, and Defendants Caliber

Home Loans Inc., LSF9 Master Participation Trust, and Summit Services and Realty LLC

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(collectively “Defendants”), by and through their counsel, Kendra L. Haar of PERKINS COIE
LLP have met and conferred to discuss this matter, including the possibility of settlement The
parties have also reviewed the Court’s December 1, 2016 Order in this matter.

Jurisdiction and Venue

This Federal Judicial Court has subject-matter jurisdiction over this action because it
presents a FEDERAL QUESTION, 28 U.S.C. § 1331, and is brought by a consumer for
Enforcement of Fair Debt Collection Practices Act (“FDCPA”) 15 U.S.C. § 1692, 28 U.S. Code §
1251 under the United States of America Constitution Article 111 section ll the right sought to be
protected herein are secured by the United States of America Constitution by Acts of congress,
and federal common law.

Venue is proper because Debt Collector Defendants alleged unlawful acts and business
are conducted in the Arizona Division of this District and defendants are therefore considered to
be residents, pursuant to 28 U.S. Code § 1391.

FACTUAL ALLEGATIONS

Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if
more fully set forth herein below.

1) Consumer received without his expressed permission “debt collector” communications
Said communications violates the Fair Debt Collection Practices Act pursuant to 15
USC § 16920(a), as Consumer did not authorize and/or give direct prior consent for
“debt collector” to communicate with Consumer regarding this or any alleged debt.
Additionally, pursuant to 15 USC 1692c(a), their communications were sent without the
express permission from a Court of Competent Jurisdiction. This violated 15 USC §
1692a(4),1692d ,1692e(11) and 1692g.

2) On or about March 15, 2016, LSF9 MASTER PARTICIPATION TRUST allegedly
acquired an interest of "ownership"."Debt Collector" LSF9 MASTER
PARTICIPATION TRUST sent Consumer on March 25,2016 "Notice of Ownership
of Mortgage Loan" nowhere in the correspondence did they claim to be the "Creditor"

or "Holder In Due Course". In the case involving this particular assignment,

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3)

4)

Defendants executed a document entitled “Notice of Ownership of Mortgage Loan”
which contained no warranties of title or interest, showing that “LSF9 Master
Participation Trust” is in fact not a trust holding beneficial rights to the Defendants’
loan, but rather it is an undisclosed “Participation Agent” for yet more undisclosed
investors identified as simply "Us" in correspondence, this in violation of 15USC§
1692a(4), 16920(a) and Plain Writing Act of 2010.
On or about May17, 2016 Debt Collector chen, known a criminal organization as
evidenced by recent findings and news reports and a consent order of $125 million,
knowingly transferred the undocumented and unverified alleged debt to Defendants who
ignored "Due Diligence" and accepted the transfer of the alleged debt and did so with
full knowledge and understanding and accepting full "Moral Hazard" of the transaction
on March 15,2016.Thus violating 15 USC§1692a(4),1692e, 1692e(2)(A) and other sub-
paragraphs Defendants violation of FTC 16 C.F.R. § 433, (“Holder” Rule) makes any
assignee or holder of the credit contract responsible for claims the consumer might have
against the seller. Defendants executed a document entitled “assignment” that contained
no warranties of title or interest, which is Breach of fiduciary
Gn or about May17, 2016 CALIBER HOME LOANS and its agents, then stole
consumer identity, i.e., “identity theft” in accordance with 18 U.S. Code § 1028A and
section 523 of the Gramm- Leach-Bliley Act 15 U.S.C. 6823 and created a new account
9804xxxxx, without the Consumer’s authorization, then sent threatening and harassing
communications, in violation of 15 USC 1692d, in the form of CALIBER HOME
LOANS and its agents “NOTICE OF SALE OF OWNERSHIP OF MORTGAGE
LOAN“ letter dated May 31, 2016 and another letter dated June 03,2016. Debt
Collector’s violation of FTC 16 C.F.R. § 433, (“Holder” Rule) makes any assignee or
holder of the credit contract responsible for claims the consumer might have against the
seller. Which is Mail Fraud 18 USC 1341, 1342 & 1345; 39 USC 3005 & 3007.
CALIBER HOME LOANS and its agents, "debt buyers" cannot support their collection

activities with basic documents, such as the original contracts and "Genuine Original

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5)

Note" underlying the alleged debts or the chain of title evidencing that the debt buyer
had standing to non judicial foreclosure on consumer. Defendants filed non judicial
documents without investigating or verifying support for the foreclosure including
whether or not the facts alleged were true. Defendants executed a document entitled
“assignment” that contained no warranties of title or interest These actions by Debt
Collector would lead an unsophisticated consumer to believe he is responsible to pay
the alleged debt, a violation of 15 USC § 1692a(4),1692f (6)(A).

On June 27, 2016, Consumer, in good faith, ccorresponded to Defendants and its agents
that they were Harassing the Consumer. Consumer also asked the Debt Collector to
identify themselves more clearly and describe the nature and history of the alleged
debt. Consumer disputed said the Debt and attempted discover who the Creditor and
Holder In Due Course is in accordance with RESPA Qualified Written Request and
FDCA debt validation Furthermore, Consumers' correspondence to Defendants and
its agents stated: "...Please do not misfile or lose the same as the information contained
is private in nature T his letter further constitutes my Request for Michael J Brosnahan
complete Loan File pursuant to TILA, RESPA FDCA and Arizona Law. Please consider
this my response to your “NOTICE 0F SALE OF 0WNERSHIP OF MORTGAGE
LOAN" letter dated May 3], 2016 and another letter dated June 03,20]6 from Maiy
Elis Senior Vice President CALIBER HUME LOANS that identified CALIBER HOME
LOANS was now the "Loan Servicer ” and ”Debt collector". T hese letters asking me to
dispute the validity of the debt within thirty days. 1 am currently acting in good faith so l
may have quiet and peaceful enjoyment of my home. l will attempt to be concise in my
response as there are many misrepresentations and violations to address in your letter.
CALIBER HUME LUANS and its agents are purposely obfuscated facts and avoided
important issues and determining factors in this matter thus causing undue delay in
achieving a just, speedy and inexpensive resolution to this matter. you have no legal
right to initiate a foreclose as it never truthfully identify themselves or third parties of

interest or answers and addressed my valid concerns stated in my previous

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correspondence CALIBER HOME LOANS and its agents is seeking to illegally seize
possession of Mr. Brosnahan’s home and to obtain a windfall by concealing the true
parties to the fraud from an, alleged loan...Pg 2 Notice CALIBER HOME LOANS and
its agents.' As a result of their mortgage activities, CALIBER HOME LOANS and its
agents, and each of them are and were Subject to and must comply with the Federal
Truth in Lending Act (hereinafter referred to as "TILA" [15 U.S.C. 1601-16666]] and
the Acts corresponding Regulation (hereinafter referred to as "Reg. Z" [24 C.F.R.
35 00.1 -35 00.1 7],' the Real Estate Settlement Procedures Act (hereinafter referred to as
”RESPA’Q [12 U.S.C,2601 et seq],‘ Business and Professions Code [17200,' Federal
Trade Commission 5],' 24 Code of Federal Regulations 35 00.1 0; Unfair and Deceptive
Business Practices and Acts {UDAP Statutes),' T he violations of A.R.S. Title 44,
especially §§1200 series, etc. Non-judicial foreclosures require the purported power of
sale clause to be a lawful agreement which in this instant case was not. CALIBER
HUME LOANS and its agents are erroneously misusing 12 US.C. § 1821 (d)(13)(D) in
an attempt to misplace the liability of their continued malicious, willful and unlawful
attempt to Foreclosure as a debt collector and steal Mr. Brosnahan’s unique real
property Please provide the name, address, and phone number of the true owner of this
obligation pursuant to 15 U.S.C. § 1641@9(2) and describe your relationship to this
entity... Pg 9 "Willful and malicious harassment: Right to Cancel is my rescission
letter. In Consumer letter dated 2009: Michael J Brosnahan legally mailed first class
ejj"ectively rescinding under TILA the loan. CALIBER HOME LOANS and its agents
are willfully and maliciously attempting to collect a debt on an alleged Loan that was
Rescind My Notice of Right to Cancel is my rescission letter sent back in 2009.
According to SCOTUS Januaiy 13, 2015 unanimous decision in (Jesinoski v.
Countrywide Home Loans, Inc., 2015 WL 144681 TILA, 15 U.S.C. § 1635), provides
borrowers with an unconditional right to rescind The subject mortgage and note did
not exist after the notice of rescission That is the express terms of the law. Hence any

action to enforce or collect under the terms of the note or mortgage or deed of trust

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6)

were void, ab initio. CALIBER HOME LOANS and its agents willful and malicious
violation of the express provisions of the Federal Act. Since Defendants claim they are a
party to the contract and have not cancelled the security interest, and returned all monies
paid by the Plaintiif, within the 20 days of receipt of the original Notice of rescission,
Defendants are responsible for actual and statutory damages pursuant to
15U.S.C.§1640(a).

On August 05, 2016, 45-days later, Consumer received a communication from Debt
Collector that was nonresponsive and refused to acknowledged any of the consumers
legitimate concerns even though they Were previously informed: " CALIBER HOME
LOANS and its agents must accept the full 'Moral Hazard" of their continued willful
ignorance and their actions that continue to purposefully obfuscating facts and laws.
CALIBER HOME LOANS and its agents can no longer claim "plausible deniability".
CALIBER HOME LUANS and its agents cannot expect to legally collect on an alleged
Loan/Debt it allegedly claims originated on May 25, 2006 and simultaneously turns a
blind eye as to the fraudulent nature of the origination, accounting irregularities
statutory violations and false and forged documents that it is maliciously using in an
attempt to steal Consumer unique real property. "

0n August 24, 2016: Under what authority did Defendants and its agents, jointly or
separately, by and through their ens legis, cause to have filed and recorded false and/or
forged documents in the Coconino County Recorder’s Office. The Defendants and its
agents obtained and used affidavits, under the color of law, that were patently false and
misleading which were then filed into the Coconino County Recorder's Office, clouding
the title, affiants of said affidavits claimed they had personal knowledge of the validity
and ownership of debts, however, Defendants know that many of these affidavits were
executed by persons who lacked personal knowledge of the facts and were never party
to the contract. Consumer is the only natural person with personal and first-hand
knowledge of the fact regarding this matter. Filing of the affidavits was a “false,

deceptive, or misleading representation” made in connection With collection of a debt

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violates 15 U.S.C. § 1692e, furthermore,“unfair or unconscionable means” to collect a
debt in violation of 15 U.S.C. § 1692f. Defendants’ acts and practices constitute
violations of sections 807(3) and 807(10) of the FDCPA. 15 U.S.C. § 1692e(3), (10) and
Mail Fraud 18 USC 1341, 1342 & 1345; 39 USC 3005 & 3007.

On August 24, 2016 in response to Consumer’s good faith communication, Debt
Collector, acting in bad faith, took a punitive measure on the "consumer asking for debt
validation" and willfully, maliciously and with knowledge of forethought recorded a
Trustee Sale, scheduling it the day before Thanksgiving November 23, 2016. Debt
Collectors actions threatened the Consumer in their attempt to collect an alleged debt
and they are terrorizing and attempting extort the consumer regarding a debt they knew
and know not to be legitimate Defendants are seeking to illegally seize possession of
Consumer Mr. Brosnahan’s home and to unlawfully take possession of (i.e., “steal) the
consumers' principle dwelling unique real property to obtain a windfall by concealing
the true parties to the fraud from an alleged loan and using “unfair or unconscionable
means” to collect a debt in violation of 15 U.S.C. § 1692f. 1692f (6)(A).

On September 15, 2016 acting in good faith, Consumer concerned about Defendants
ongoing threats, abuse and harassments sent by USPS Certified Mail # 7016 0910 0000
7647 4611 "NOTICE OF DISPUTE AND DEMAND FOR VERIFICATION OF DEBT
IN ACCORDANCE WITH 15 USC 1692 (FDCPA) to Debt Collector CALIBER HOME
LOANS and its agents again demanding proof of claim.' BE ADVISED AND
NOTICED: "1 have not requested photocopies of any invoice, statement, bill, summary,
agreement and/or the like and that any future communication received by your
company in any written or other form, absent the above-cited requisite “verification of
the debt”, irrespective of the inclusion of any photocopy of any related invoice,
statement bill, summary, agreement and/or the like, constitutes you, your company ’s,
and/or your client ’s tacit admission, confession and agreement that neither you, your
company, nor your client or any alleged creditor has a lawful, bonafide, verifiable

claim. Can "debt collector” Caliber Home Loans, 1nc. provide any evidence, excluding

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“hearsay”, identify the creditor in fact in this transaction? Pursuant to 15 US.C. §
1692 (G) (4) Validation of Debts, this is lawful demand that Debt Collector must
provide lawful validation and supporting legal evidence to substantiate Debt Collector,
Caliber Home 1nc., claim that: 1) T he purported debt does not constitute fraud; 2) The
purported debt does not constitute fraudulent misrepresentation,' 3) T he purported debt
is lawfully owed by Michael J Brosnahan to Caliber Home 1nc. Account Loan Number:
xxxxxx9874 (alleged “Loan”). Please veriyj) under oath that above-mentioned claim is
valid, and free from any claims and defenses Furthermore, also verij§) that if the alleged
account was transferred at any time it was done so in good faith and by the consent of
all parties involved The "Debt collector” non-disclosure may give rise to a federal
“deception” charge NOTICE.' Any lawyer responsible for false debt collection claim
will be held accountable under the Fair Debt Collection Practices Act, 15 USC 1692.
I will bring suit against your agency for violations of federal and state consumer
protection laws. Therefore, this notice can be construed as a Notice of 1ntent to bring
such action if your response does not support a legal debt “owed” to your agency "
Consumer copied: Arizona Attorney General Mark Brnovich Civil Litigation Division
Consumer Protection and Advocacy Ojfice Section Tucson Office who opened a case
file.' CIC 1 6-0094 79 / CALIBER HOME LOANS

10) On or about October 09,2016, under the color of law, Defendants and its agents, by
and through their ens legis ignored and violated the Posted: "Private Property, No
Trespass, No Photographs" signs on Consumer’s property; did in fact violate consumers
privacy, photograph, trespass, threaten, harass and abuse Consumer when it was
publicly posted on the front gate of Consumers home for all neighbors and passersby to
see: The "Foreclosure Trustee Sale Notice" that clearly stated "this an attempt to collect
a debt". Their actions violate ‘third party disclosures', a violation pursuant to Section
15U.S.C.§1692e(3),(10),1692e(2)(A)(10),1692f(6)(A)(B)(C),

1692d,1692c(b), A.R.S.131504 Criminal Trespassing in the First Degree.
11) On October20,2016 Consumer sent correspondence via USPS Certified Mail Tracking

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7016 0910 0000 7644 4928 to Arizona Attomey General Mark Brnovich Civil Litigation
Division Consumer Protection and Advocacy Office Section Tucson Office regarding
case file: CIC 16-009479 / CALIBER HOME LOANS and “Debt Collector” USPS
CERTIFIED MAIL TRACKING # 7016 0910 0000 7644 4911. pg 2 ”Why did Debt
Collector and its agents, in response to Consumer reasonable request for debt
validation Debt Collector did not respond in a timely manner and provide legitimate
proof Instead Debt Collector and its agents, punitively responded and threatened the
consumer without first validating the alleged debt by Trespassed and posting a PLbli_c
Foreclosure Notice on or about October 09, 2016 on front gate of consumer ’s residence
which clearly states with the Foreclosure date of November, 23, 2016, "This is an
attempt to collect a debt... ". T his action is a violation of15 USC 1692d§ 806, along with
Furnishing Certain Deceptive Forms, USC 1692j § 812,' False Or Misleading
Representations,15 USC 1692e § 807,' Communication In Connection With Debt
Collection, 15 USC 1692e § 805...pg3Mic_e_: Consumer here by demands that Debt
Collector, CALIBER HOME LOANS and its agents, immediately Cease and Desist
any and all Foreclosure actions. "

12) On November 05,2016 Consumer sent correspondence to Defendants USPS Certified
Mail Tracking #7016 0910 0000 7644 8483 the Debt Collector, "MQA Consumer
here by demands that Debt Collector, CALIBER HOME LOANS and its agents,
immediately Cease and Desist any and all Foreclosure actions ..." Exercising my
right to private action, I will bring suit against you, personally, and your agency for
violations of federal and state consumer protection laws. Therefore, this notice can be
construed as a Notice of Intent to bring such action, as your non-response does not
support a legal debt “owed” to your agency... "Should you continue to choose and
pursue your unlawful Foreclosure, trespass, harassment, threats, identity theft and other
actions, pursuant to your admission, you are doing so with full knowledge and
understanding and FOR THE RECORD, accept all associated liabilities, penalties,

fees, fines and punitive damages etc. "

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13) On November 12, 2016, Consumer filed complaint with the CFPA over debt collectors
abusive behavior. See Case number 161112-000216

14) On November 23, 2016,11AM. Trustee sale the day before Thanksgiving, Consumer
physically went to Flagstaff court steps and was informed by the realtor Jodie xxx,
commissioned by the Debt Collector that the sale was permanently CANCELLED 5
minutes before alleged sale, with no notice to consumer. This is prima facie evidence of
the truth, facts and evidence asserted by the consumer in this matter over the past eight
years is true and correct and there is no evidence to the contrary. FDCPA § 1692e says a
debt collector cannot use any false, deceptive, or misleading representation or means in
connection with the debt collection and 1692e(5) says the debt collector cannot threaten
to take any action that cannot legally be taken or that is not intended to be taken.
Violated 15 USC 1692f (6)(A)

15) November 22, 2016 ,one day before the foreclosure sale, Debt acting in bad faith and
with malice aforethought are purposely obfuscated facts to avoided important issues
through Willful concealment of determining factors in this matter sent a response to
CFPB complaint; Case number 161112-000216, 63 pages correspondence, using
legalese (prohibited under FDCPA) that misrepresents the material facts, omits evidence
and stubbome remains unapologetic and displays a willful ignorance of their abusive
behavior and actions towards the consumer, with no mention of the cancelled trustee
sale. Consumer Received this communication on November 28, 2016.

16) November 28, 2016 Continued their harassment, as Defendants jointly or separately, by
and through their ens legis, cause to have filed and recorded false and/or forged
documents in the Coconino County Recorder’s Office: "Notice Of Trustee Sale" Filing
of the affidavit was a “false, deceptive, or misleading representation” made in
connection with collection of a debt in violation of 15 U.S.C. § 1692e, and that it used
“unfair or unconscionable means” to collect a debt in violation of 15 U.S.C. § 1692f.
Defendants’ acts and practices constitute violations of sections 807(3) and 807(10) of

the FDCPA. 15 U.S.C. § 1692e(3), (10) and Mail Fraud 18 USC 1341, 1342 & 1345; 39

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USC 3005 & 3007,15 USC 1692f (6)(A).

17) December 02, 2016 Consumer disputed Response filed November 22, by Debt collector

to Consumer complaint with the CFPA over Debt Collectors abusive behavior Case
number 161112-000216: "Any reasonable person can see after reviewing the substantial
irregularities in the accounting paperwork solid evidence and facts presented herein
why this matter has been ongoing for more than eight years without equitable
resolution T he Consumer has acted in good faith and worked diligently since January
01, 2009 to resolve this dispute He believes the any Court of Competent Jurisdiction
will find the Statute of Limitations on any contract in question is over. Due to the
amount of time that has lapsed without resolution Consumer believes he is entitled to
quite peaceful enjoyment of his unique real property without further trespass or
harassment from any debt collectors ARS Ann. § 12-541 et seq Alleged debt is
considered "time-barred." "As evidenced by recent findings and news reports on
October 06, 2015,' As Debt Collector Caliber Home Loans and its agents has grown, so
have customer complaints More than 1, 000 complaints have been lodged with the
federal Consumer Financial Protection Bureau, many in the past year. New York
attorney general, has opened an investigation into the mortgage company, a person in
Mr. Schneiderman’s o]fice confirmed New York Attorney, Mr. Schneiderman.' T he
investigation into Caliber is returning to familiar turf in investigating mortgage abuses
He was a co~chairman of the residential mortgage-backed securities task force that
worked with the Justice Department and other state attorneys generals to negotiate tens
of billions of dollars in settlements with Wall Street banks over their mortgage practices

during the run-up to the financial crisis "

18) Dated: December 15, 2016 Consumer received correspondence from Defendants they

were debt collectors and that they would comply with the FDCPA and cease all

communications

19) Dated: December19,2016, Consumer; harassed again when he received correspondence

from Defendants in violation of 15 USC 1692c

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20) December23,2016, Consumer; harassed again when he received correspondence from
Defendants in violation of 15 USC 16920, 1692j
Conditions Precedent

Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if
more fully set forth herein below.

Consumer questions Non judicial foreclosure: What authority do Defendants claim the
right to proceed? For Defendants to act upon these claims would divest Consumer from his
property and his prerogative rights, resulting in legal injury.

1) The failure of Defendants to properly accelerate their own alleged loan, an essential
prerequisite to foreclosure, is at issue because Paragraph twenty-two Deed of Trust,
provides, in pertinent part, the following: Acceleration; Remedies, Lender shall give
notice to Borrower prior to acceleration following Borrower’s breach of any covenant
or agreement in this Security lnstrument...

The notice shall specify:

(a) the default; (b) the action required to cure the default; (c) a date, not less than
30 days from the date the notice is given to Borrower, by Which the default must
be cured; and (d) that failure to cure the default on or before the date specified in
the notice may result in acceleration of the sums secured by this Security
Instrument, foreclosure by judicial proceeding[,] and sale of the Property.
Consumer did not receive nom the alleged "Lender" this prior to both non judicial

proceedings

Plaintiff demand to see the notices from the alleged "Lender" as required by law
and not from Debt Collector Caliber Home Loans. The issue at hand is very
simple, the Deed Of Trust requires the "Lender" to send Consumer notice that they
have sold or assigned the servicing rights, otherwise Plaintiff has no way of
knowing that Defendants has the right to collect or enforce payment on behalf of

the alleged "owner" of the note.

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Who is the "Authorized Banking Institution" that holds the account and where is

the account being held?

2) Defendants’ failed and breached contract: Defendants by and through employees of

Defendants’ ens legis did commit a breached contract by creating a "Substitution Of
Trustee" not "appointed" by the "Lender". Defendants and its agents, jointly or
separately, by and through their ens legis cause to have filed and recorded false and/or
forged documents in the Coconino County Recorder’s Office "Substitution Of
Trustee" Dated: 08-24-2015 that clearly breaks the chain of title see DEED GF
TRUST paragraph 24 - Paragraph twenty-four Deed of Trust provide, in pertinent part,
the following: "Substitute Trustee. Lgide_r may, for any reason or cause, from time to
time remove Trustee and appoint a successor trustee to any Trustee appointed
hereunder Without conveyance of the Property, the successor trustee shall succeed to
all the title, power and duties conferred upon Trustee herein and by Applicable Law. "
(Emphasis added) In Arizona Law and contracts; that means ONLY “Lender” and l_\l_o_
One Else may appoint a successor Trustee. Substitution of trustee can only be assigned
by the "lender". Defendants by and through employees of Defendants’ ens legis
created a unlawful "Substitution Of Trustee" without the "1ender". Defendants
executed a document entitled “assignment” that contained no warranties of title or

interest

Debt Collector, under the color of law, fabricates and purposefully obfuscates facts to
assign themselves alleged rights they do not possess by clouding the Title. This is accomplished
by “aggregating” paper, not debts or loans, and is a violation of 15 USC 1692e. This causes the
Articlel courts to presume that “where there is paper there must be a transaction somewhere
within the paperwork” even when this presumption is false. The paper is repackaged into new
accounts ("Identity Theft") and special purpose vehicles which are often trusts. lt is the same
game as creating multiple assignments through an LLC to give the illusion that an original

transaction took place from which all future instruments derive their value; however, if the

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“originator” did not properly document a transaction, which is their fiduciary duty to do so, then
none of the instruments have any value or utility.

The Consumer has acted in good faith and worked diligently since January 01, 2009 to
resolve this matter before the Court. Consumer believes any Court of Competent Jurisdiction will
find that after eight years the Statute of Limitations on any alleged contracts in question is over.
Due to the amount of time that has lapsed without resolution, Consumer believes he is entitled to
quite peaceful enjoyment of his unique real property without further trespass or harassment from

any debt collectors. ARS Ann. § 12-541 et seq Alleged debt is considered "time-barred."

STATEMENT OF FACTS

Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if
more fully set forth herein below.

Plaintiff Consumer questions the Jurisdiction of the non-judicial court and foreclosure
proceeding and veracity of the alleged paperwork to move forward with the non-judicial
foreclosure against Plaintiff was nothing more than “hearsay” and inadmissible as evidence in
this Court. The veracity of accounting and the Affidavit by now is in question. Defendants and its

agents continue to trespass and harass Consumer.
Plaintiff Moves this Court to take Judicial Notice of U.C.C. § 3-302(d,e,g)
A. Defendants are inconsistent with their ‘STANDING’ in this matter

1. Defendants have claimed in this case to be an ‘owner’; and Defendant have
claimed in the non-judicial foreclosure proceeding to be a ‘HOLDER lN DUE
C()URSE.’

2. Defendants have altered the Note by stamping the Note “without recourse” and
thereby either discharging the Note and/or confessing to fraudulently transferring
the Note pursuant to, inter alia, A.R.S. §§ 47-3407, 47-3416(A)(3), 47-3417(A)(2),
47-4207(A)(3)

3. Defendants by and through Defendants' counsel filed a non-judicial
foreclosure proceeding knowingly, intelligently and Willfully in violation of

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the law requiring that ONLY a HOLDER IN DUE COURSE can commence
foreclosure proceeding

Pursuant to, inter alia, U.C.C. § 3-302. HOLDER IN DUE COURSE,
specifically paragraphs d, e and g, a Holder does not have the right to foreclose on a
“property.” Although Defendants MAY be a Holder in some ways, Defendants cannot be the
Holder in Due Course as Defendants may ONLY have a security interest in the property.
U.C.C. § 3-302. HOLDER IN DUE COURSE.

(d) If, under Section 3-303(a)(1), the promise of performance that is the consideration
for an instrument has been partially performed, the holder may assert rights as a holder in due
course of the instrument only to the fraction of the amount payable under the instrument equal
to the value of the partial performance divided by the value of the promised performance

(e) If (i) the person entitled to enforce an instrument has only a security interest in the
instrument and (ii) the person obliged to pay the instrument has a defense, claim in
recoupment, or claim to the instrument that may be asserted against the person who granted the
security interest, the person entitled to enforce the instrument may assert rights as a holder in
due course only to an amount payable under the instrument which, at the time of enforcement
of the instrument, does not exceed the amount of the unpaid obligation secured. (Emphasis
added) Defendant(s) and/or Defendant’s counsels filing of a non-judicial foreclosure proceeding

as a ‘Holder’ was an unlawhll act.

B. Defendants' and/or Defendants' counsel are
purposefully obfuscating facts and laws

Debt Collector Defendant’s and/or Defendant’s counsel’s use of legalese (prohibited
under FDCPA) for purposeful obfuscation of facts and color of laws to appear to this Court as
the CREDITOR and/or the HOLDER lN DUE COURSE when Defendants and Defendant’s
counsel are well aware Defendants are neither the CREDITOR nor the HOLDER fN DUE
COURSE in this matter.

C. Defendants' conduct and acts cause Defendants' to be considered
a “DEBTOR” pursuant to the Uniform Commercial Code.

Defendants cannot be the CREDITOR and/or the HOLDER lN DUE COURSE as one or

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more of the Defendants was and/or is the DEBTOR pursuant to U.C.C. § 9-102:

U.C.C. § 9-102 Definitions and index of definitions

A. ln this chapter, unless the context otherwise requires:

28. "Debtor" means:

(b) A seller of accounts, chattel paper, payment intangibles or promissory nole§; or
(c) A consignee (All emphasis added)

D. This Court should now query Defendant on Defendant’s ‘True’
position in this matter pursuant to the FDCPA and U.C.C.

lt is now incumbent on this court to query Defendant as to Defendant’s lawful position in
this instant matter. If Defendants refuse to stipulate in open court that Defendant are the
CREDITOR and HOLDER IN DUE COURSE in this instant matter then Defendants should
explain to Plaintiff and this Court how Defendants can proceed with a non-judicial foreclosure

Defendant’s own acts of fraud upon this court, Plaintiff, Arizona’s body politic, and the
public in general are the single cause of this paradox and absent Defendants “stating the claim”
they are the CREDITOR and HOLDER IN DUE COURSE in this matter, this court cannot hear
from the Debt Collector Defendants

E. In the interest of justice and to assist this Court in understanding
the FDCPA violations Defendants' 15 USC § 1692a(4) committed against Plaintiff.

Defendants, by and through the company “assigned, sold or transferred” the purported
‘Promissory Note/Deed of Trust’, which then caused Defendants to become a “DEBTOR”
pursuant to, inter alia, U.C.C. § 9-102 (A.R.S. § 47-9102).

In fact, ALL Defendants have committed acts which cause them to become “DEBTORS”

as defined by the U.C.C.

See: U.C.C. § 9-102 Definitions and index of definitions
A. ln this chapter, unless the context otherwise requires:
"Debtor" means:
(b) A seller of accounts, chattel paper, payment intangibles or promissory notes; or
(c) A consignee. (All emphasis added)

Defendant received pecuniary gain from the Violations of FDCPA acts committed under
the guise of a ‘lawful transaction’ to unlawfully convert real property from the Consumer, lawful
owner, to a corporation

Defendants conspired to create a ‘scheme’ and/or ‘artifice’ to “securitize”

Promissory Notes and receive the profits thereof, yet Defendants have attempted to invoke the

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rights of a HOLDER lN DUE COURSE. Such rights are mutually exclusive in law. Once the
‘NOTE’ was “securitized” by Defendants, Defendants’ knowingly, intelligently, and willfully -
PERMANENTLY - forsook any possible Rights of a HOLDER lN DUE COURSE, in violation
of FTC 16 C.F.R. § 433, (“Holder” Rule)

Furthermore, these Defendants have committed ‘perjury by inconsistent
statements’ by fraudulently claiming to the State of Arizona that they are the HOLDER IN DUE
COURSE to commence the ‘non-judicial foreclosure’ proceeding, yet in this Court and ALL
other documents they ONLY claim to be a "Owner". See: Inter alia, A.R.S. § 13-2705; Perjury by
inconsistent statements

Plaintiff hereby questions ALL parties actual standing in this matter.
Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if
more fully set forth herein below.

Defendants' purported counsel may in fact not be counsel for Defendants, but may
in fact be ONLY appearing as counsel and TRULY representing their own interest

lf, in fact, counsel is representing Defendants then counsel shall provide to this
Court for this Court’s and Plaintiff’ s ‘inspection’ the ‘Power of Attomey’ and ALL of the
documents purporting to give counsel the authority to act on Defendants' behalf.

If, in fact, counsel is acting in their own behalf, then counsel has committed fraud
upon this Court.

More succinctly stated, Plaintiff has the Right, and hereby invokes said Right, to
have ALL parties, state on and for the record, their relationship to Consumer Plaintiff and their
relationship to this matter.

ln fact, Plaintiff has no idea who really has the requested documents, yet Plaintiff is
absolutely sure, as this Court will agree, and Defendants will NEVER argue against, that no entity
and/or person is or lawfully can be the holder in due course in this matter, therefore, no entity
and/or person can lawfully foreclose in this matter.

Plaintiff hereby moves this Court, and it is now incumbent on this Court, in the interest of

justice and pursuant to, inter alia, F.R.C.P. Rule 1 to query Defendants, and DEMAND

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Defendants stipulate and agree on and for the record, as to whether or not Defendants is or is not
the HOLDER lN DUE COURSE and the CREDITOR or Debt Collector in this instant matter
before this Court.

Defendants’ actions caused great emotional stress to Consumer Plaintiff and negatively
affected Plaintiffs ability to earn an income Defendants are jointly and severally liable for
Plaintiffs financial losses Defendants may be held jointly and severally accountable punitiver
for the suffering they have caused Plaintiff.

lt is a functional impossibility for Consumer Plaintiff, a laymen, and/or any juris
doctorate for that matter, to explain the horrendous and numerous acts unlawfuly perpetrated
against the State of Arizona, the body politic of Arizona, and the Consumer Plaintiff by
Defendants in a few “short” paragraphs Defendants have spent untold millions of dollars and
possibly thousands of hours of attorney’s time to contrive such an abysmal scheme to steal from
the people, the States, the Counties, and the United States of America as a whole all at the same
time

The Defendants plan itself is simple, 1) Trick the Consumer home owners with legalese
terms no laymen will understand; 2) Subvert the FDCPA and other consumer protection laws;
avoid a Court of Comnetent Jurisdiction 3) Scare, threaten and bully Consumer in their attempt
to divest him of his constitutional Rights and property 4) Move cases to prevent the Consumer
homeowners from accessing their Due Process Rights; and 5) Payoff anyone that is willing to
help the Defendants steal the real property from the Consumer and true homeowners instituting
the biggest hoax and swindle in history which required a large number of corrupt lawyers willing
to use their knowledge to deh‘aud and eventually destroy the Consumer and the whole Country.

lt is repugnant in equity that any Debt collector and/or Defendants will garner all three (3)
aspects of the purported “agreement” if Defendant and/or Defendants prevail in this unlawful non
judicial foreclosure issue The three material issues in this Suit are: l) the real property; 2) the
Note; 3) the money. lt is a material fact that the U.C.C. prohibits such an unjust enrichment
windfall, as evidenced by U.C.C. § 3-501(B)(2). This would be unjust and equivalant to asset

forfeiture

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COUNT I
VIOLATION OF REAL ESTATE SETTLEMENT
PROCEDURES ACT (RESPA), 12 U.S.C. §2605

Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if

more fully set forth herein below.

a)

b)

C)

d)

e)

Conditions Precedent; Defendants failed and breached contract: Paragraph twenty-two
(22) Deed of Trust "Acceleration; Remedies"

Conditions Precedent; Defendants failed and breached contract: Deed of Trust paragraph
twenty-four (24) Substitution of trustee can only be assigned by the "lender"

Plaintiff’ s written requests for information about his account and correction of
Defendants’ failed to correct numerous errors "qualified written requests’ ’ within the
meaning of RESPA.

Defendants' failed to respond in a proper and timely way to Plaintiff’ s “qualified written
requests” for information about, and corrections to, his mortgage account, in violation of
12 U.S.C. §2605(e).

FTC 16 C.F.R. § 433, (“Holder” Rule)
WHEREFORE, Plaintiff demands judgment against Defendants for a proper accounting

and application of his mortgage payments and for actual, statutory, treble and/or punitive

damages and attorney’s fees and costs, along with any other and further relief as the court deems

just and proper, pursuant to 12 U.S.C. §2605.

COUNT II
VIOLATION OF TRUTH IN LENDING ACT (TILA), 15 U.S.C. §1641

Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if

more fully set forth herein below.

a)

b)

“ldentity Theft” in accordance with 18 U.S. Code § 1028A and section 523 of the
Gramm- Leach-Bliley Act 15 U.S.C. 6823 and created a new account 9804xxxxx, without
my, the Consumer’s, authorization

Violation TILA, 15 U.S.C. § 1635:Consumer noticed Debt collector and ignored TILA
Rescission, and attempted to collect debt after notice See SCOTUS unanimous
decision January 13, 2015 (Jesinoski v. Countrywide Home Loans, 1nc., 2015 WL
144681 ).

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c) Defendants claim they are a party to the contract and have not cancelled the security
interest and returned all monies paid by the Plaintiff, within the 20 days of receipt of
the original Notice of rescission, Defendants are responsible for actual and statutory
damages pursuant to 15U.S.C.§1640(a).

WHEREFORE, Plaintiff demands judgment against Defendants for actual or statutory

damages, and punitive damages, attorney's fees and costs, pursuant to 15 U.S.C. §1640(a).

CoUNT 111
vroLATIoN oF FAIR DEBT CoLLECTIoN
PRACTICES ACT (FDCPA), 15 U.s.C. §1692

Consumer Michael l Brosnahan reaffirms and re-alleges the preceding paragraphs as if

more fully set forth herein below.

(a) Violated 15 USC 1692c(a)
Without the prior consent of the Consumer given directly to the debt collector or the
express permission of a court of competent jurisdiction, a debt collector may not

communicate with a consumer in connection with the collection of any debt.

(b) Violated 15 USC § 1692a(4) The term "creditor" means any person who offers or
extends credit creating a debt or to whom a debt is owed, but such term does not
include any person to the extent that he receives an assignment or transfer of a debt in

default solely for the purpose of facilitating collection of such debt for another.

(c) Violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of which

is to harass, oppress, or abuse any person.

(d) Violated 15 U.S.C. §1692e(2) by falsely representing the character, amount, or legal
status of any debt.

(e) Violated 15 U.S.C. §1692e(6) by sale or transfer of any interest in the debt will cause

the consumer to lose any claim or defense to payment of the debt.

(f) Violation of FTC 16 C.F.R. § 433, (“Holder” Rule) makes any assignee or holder of

the credit contract responsible for claims the consumer might have against the seller

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(g) Violated 15 U.S.C. §1692e(8) by communicating or threatening to communicate to
any person credit information which is known or which should be known to be false,

including the failure to communicate that a disputed debt is disputed

(h) Violated 15 USC 1692f (6)(A) (6) Taking or threatening to take any non judicial
action to effect dispossession or disablement of property if -- (A) there is no present
right to possession of the property claimed as collateral through an enforceable

security interest;

(i) Violated 15 U.S.C. §1692e(10) by the use of any false representation or deceptive
means to collect or attempt to collect any debt or to obtain information concerning a

COIlSUl'l'lCI‘.

(j) Violated 15 U.S.C. §1692f(1) by the collection of any amount (including any interest,
fee, charge, or expense incidental to the principal obligation) unless such amount is

expressly authorized by the agreement creating the debt or permitted by law.

(k) Violated 15 U.S.C. §1692f (6) taken or threatened to unlawfully repossess or disable

the consumer’s property.

(l) Violated 15 U.S.C. §1692 e(5) misleading representation or means in connection with
the debt collection and says the debt collector cannot threaten to take any action that

cannot legally be taken or that is not intended to be taken.

(m)Violation of 15 U.S.C. § 1692e “false, deceptive, or misleading representation” made
in connection with collection of a debt in violation of, and that it used “unfair or

unconscionable means” to collect a debt and

(n) Violation of 15 U.S.C. § 1692f. Defendants used affidavits in which the affiants
represented that they had personal knowledge of the validity and ownership of debts
By using these affidavits Defendants represented, directly or indirectly, expressly or
by implication, that those affiants had personal knowledge of the validity and

ownership of the debts ln numerous instances in which they submitted such affidavits

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Defendants knew or should have known that the affiants in fact did not have such

personal knowledge

(o) Defendants’ representations as set forth in this Complaint were false or misleading and
constituted deceptive acts and practices in violation of sections 1031(a) and
1036(a)(1)(B) of the CFPA. 12 U.S.C.§§ 553 l(a), 5536(a)(1)(B).Defendants’ use of
such affidavits falsely represented to consumers the character, amount, or legal status
of debts Defendants’ use of such affidavits constituted false representations or
deceptive means to collect or attempt to collect debts Defendants’ use of such
affidavits was an unfair or unconscionable means used to collect or attempt to collect
debts Defendants’ acts and practices constitute violations of sections 807 (2)(A),

807(10), and 808 ofthe FDCPA. 15 U.s.C. §§ 16926(2)(A), (10), 16921.

(p) December 15, 2016 violation of 15 USC 1692 received correspondence from
Defendants acknowledge cease and desist 15 USC 16920(1)

(q) December 19, 2016 violation of 15 USC 1692c(1) Consumer was harassed again when
he received correspondence from Defendants after told to cease and desist 15 USC

1692c, 1692j

(r) December 23, 2016 Consumer was harassed again when he received correspondence

from Defendants in violation of 15 USC 1692c, 1692j

WHEREFORE, Plaintiff demands judgment against Defendants jointly and separately
for actual or statutory damages and punitive damages attorney's fees and costs pursuant to 15

U.S.C. §1692k.

WHEREAS, Plaintiff has supplied this Court prima facie and incontrovertible evidence
that Defendants knowingly, intelligently and willfully committed in an unlawful attempt to divest
Plaintiff of Plaintiff’s unique real property. Violated 15 U.S.C. §1692d by engaging in conduct

the natural consequence of which is to harass oppress or abuse any person.

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law. F ederal
Rules of Civil Procedure Rule 38

Demand for Relief
Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if

more fully set forth herein below.

WHEREFORE, Plaintiff respecthilly prays upon this court to grant Plaintiff declaratory
and injunctive relief, consistent with the findings of the aforesaid, including, but not limited to
Plaintiff demands judgment against Defendants jointly and separately for actual or statutory
damages and punitive damages attorney's fees and costs pursuant to 15 U.S.C. §1692, pursuant
to 12 U.S.C. §2605 and pursuant to 15U.S.C.§1640(a); enjoining the above-named Defendants
as well as any party, yet unnamed Defendants, from Selling, Converting or by any means
whatsoever, Dispossessing Plaintiff of Property, until all facts are clarified, as to be determined
following the completion of discovery, which is now pending and to provide Plaintiff, thereafter,

Oral Argument, and/or any other relief this court deems just and proper.

RESPECTFULLY SUBMITTED: This 18th day of January, in the year, of our Lord, 2017.

   

  
   

BY.“¢ j q , A spring _, z 1 1 r`/ r; agent
Consumer/Claimant Michael J Brosnahan, pro per
~ Sincerely’/and signed without prejudice,

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CERTIFICATE OF SERVICE
ORlGlNAL and COPY of the foregoing
Delivered and Filed with the Clerk of the
Court,

This 18th day of January, 2017,

The Honorable Douglas L. Rayes
UNITED STATES DlSTRlCT COURT
FOR THE DISTRICT OF ARIZONA

Conformed COPY of the foregoing

Perkins Coie LLP

Brian C. Lake

Kendra L. Haar

2901 North Central Avenue, Suite 2000
Phoenix, Arizona 85012-2788

Attorneys for Defendants Caliber Home Loans,
LSF9 Master Participation Trust, and Summit 4_
Services and Realty LLC 1

//1/ 17 j /1#
BY: 45 t th s ~‘~' alj f t /'/ ,agent
Consdmer Claimant Michael J Brosnahan, pro per
Siflcerely and signed without prej udice,

  

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